     Case 2:05-cr-00456-DJC-CKD Document 128 Filed 06/16/16 Page 1 of 2


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 8                                      UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:05-cr-0456 MCE CKD
12                         Plaintiff,
13           v.                                        ORDER
14   SERGIO RAMIREZ,
15                         Defendant.
16

17           Defendant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. Under Rule 4 of the Rules Governing Section

19   2255 Cases, the court must review all § 2255 motions and summarily deny any motion if it is

20   plain that the defendant is not entitled to relief. The court has conducted that review and finds

21   that summary denial of the § 2255 motion is not appropriate. Therefore, plaintiff will be directed

22   to file a response.

23           Accordingly, IT IS HEREBY ORDERED that:

24           1. Plaintiff is directed to file an answer within sixty days of this order. See Rule 4, Rules

25   Governing Section 2255 Proceedings.

26           2. Plaintiff shall include with the answer any and all transcripts or other documents

27   relevant to the determination of the issues presented in the motion. Rule 5, Rules Governing

28   Section 2255 Proceedings.
                                                       1
     Case 2:05-cr-00456-DJC-CKD Document 128 Filed 06/16/16 Page 2 of 2


 1            3. Defendant’s traverse, if any, is due on or before thirty days from the date plaintiff’s

 2   answer is filed.

 3   Dated: June 16, 2016
                                                        _____________________________________
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                                                        CAROLYN K. DELANEY
 5                                                      UNITED STATES MAGISTRATE JUDGE

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